Case No. 1:08-cv-01753-ZLW Document 1 filed 08/06/08 USDC Colorado pgiof5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO FILED
UNITED STATES DISTRICT COURT

08 ™ CV ra Q 1 0 5 3 DENVER, COLORADO

Civil Action No. AUS -6 2008
(To be supplied by the court)

Tr, GREGORY C. LANGHAM
duty Thal Desand _ CLERK
Tintathy EAiacd Holz Plaintiff,

PRISONER'S MOTION AND AFFIDAVIT
FOR LEAVE TO PROCEED PURSUANT TO 28 U.S.C. § 1915

I request leave to commence this civil action without prepayment of fees or security

therefor pursuant to 28 U.S.C. § 1915. In support of my request, I declare that:

1. Jam unable to pay such fees or give security therefor.
2. Jam entitled to redress.

3. The nature of this action is:

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(Rev. 11/01/04) , 2

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4. My assets and their value are listed below: (attach an additional page if necessary)

(Assets may include income from employment, rent payments, interest or dividends, pensions, annuities, life
insurance payments, Social Security, Veteran's Administration benefits, disability pensions, Worker's
Compensation, unemployment benefits, gifts or inheritances, cash, funds in bank accounts, real estate,
stocks, bonds, notes, automobiles or other valuable property (excluding ordinary household furnishings and
clothing}, or any other source of income.)

DowE

Are you in imminent danger of serious physical injury?

A Yes __ No (CHECK ONE). Ifyou answered yes, briefly explain your answer:

I declare under penalty of perjury that the information in this motion and affidavit is true
and correct. See 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Executed on fi sulecl- Y LOO
(Date)

Required Certification
You must attach to this motion and affidavit a certified copy of your trust fund account
statement (or institutional equivalent) for the six-month period immediately preceding the filing
of this action. You must obtain the certified copy of your trust fund account statement (or
institutional equivalent) from the appropriate official of each penal institution at which you are or
were confined during the six-month period.

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Inmate Inquiry

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Inmate Reg #: 15079064 Carrent bistitation Coleman FCC
Inmate Name: HOLZ, TIMGTHY Housing Usde:
Report Date: 8772072008 Living Quarters:
Repert Tine: 3:30:34 PM
General Information | Account Balances — | Commissary History Commissary Restrictions Comments
General Information
Administrative Hold Indicator: No
No Power of Attorney: No
Never Waive NSF Fee: No
Max Allowed Deduction %: 100
PIN: 9204
PAC #: 678431475
FRP Participation Status: No Obligation
Arrived From MCR
Transferred To:
Account Creation Date: 5/9/2002
Local Account Activation Date: 5/20/2008 3:34:25 AM
Sort Codes: |!
Last Account Update: 7/29/2008 3:40:28 AM
Account Status: Active
Phone Balance: $0.00
FRP Plan Information
ERP Plan Type Expected Amount Expected Rate
Account Balances
Account Balance: $0.00
Pre-Release Balance: $0.00
Debt Encumbrance: $0.00
SPO Encumbrance: $0.00
Other Encumbrances: $0.00
Outstanding Negotiable Instruments: $0.00
Administrative Hold Balance: $0.00
Available Balance: $0.00
National 6 Months Deposits: $20.00
National 6 Months Withdrawals: $34.95
National 6 Months Avg Daily Balance: $3.28
Local Max. Balance - Prev.30 Days: $0.00
Average Balance - Prev. 30 Days: $0.00
Inmate Quatifies for OTC Medication
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This Inmate is Indigent

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Commissary History

Purchases

Validation Period Purchases:
YTD Purchases:

Last Sales Date:

SPO Information

SPO's this Month:
SPO $ this Quarter:

Spending Limit Info

Spending Limit Override:
Weekly Revalidation:
Bi-Weekly Revalidation:
Spending Limit:

Expended Spending Limit:

Remaining Spending Limit:

$0.00
$0.00
7/21/2008 8:20:40 PM

$0.00

$250.00
$0.00
$250.00

Commissary Restrictions

Spending Limit Restrictions

Restricted Spending Limit: $0.00
Restricted Expended Amount: $0.00

Restricted Remaining Spending Limit: $0.00
Restriction Start Date: N/A
Restriction End Date: N/A

Item Restrictions

List Name

List Type Start Date End Date

Active

Comments

Comments:

http://10.33.84.107/UMR/InmateInquiryCombined.aspx

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ViewAllTransCombined

All Transactions

inmate Reg #: 13079064 Cerrent lastitudion: Coleman FOC
Inmate Name: HOLZ, TIMOTHY Housing Unin CLP-Z-A
Report Date: 07/29/2006 Living Quariers: Z1TL-LOBUAD
Repart ‘Fime: 3:29:06 PM
Date/Time Transaction Type Amount Refi Payment?
7/21/2008 8:20:40 PM Sales $0.00 117 .
7/9/2008 3:38:04 PM Sales $0.00 54
6/23/2008 7:27:01 PM Sales $0.00 76
6/17/2008 5:44:52 PM Sales $0.00 117
§/20/2008 3:34:25 AM Transfer - In from TRUFACS $0.00 TX052008

http://10.33.84.107/UMR/ViewAllTransCombined.aspx

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Balance
$0.00
$6.00
$0.00
$0.00
$0.00

7/29/2008
